4:01-cr-03105-RGK-CRZ   Doc # 331   Filed: 09/29/05   Page 1 of 1 - Page ID # 1105


                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                 Plaintiff,          )                 4:01CR3105
                                     )
           v.                        )
                                     )
KENNAN R. MALLORY,                   )          MEMORANDUM AND ORDER
                                     )
                 Defendant.          )
                                     )



      Defendant made his initial appearance before me on the
petition alleging violations of supervised release.               Even though
the defendant appeared at the hearing having been summoned, the
government requested detention as a result of the history of
positive drug tests alleged in the petition, and two more
positive tests since the last test set forth in the petition.
Defendant requested release so he can enroll in a treatment
program.


      Under Fed. R. Crim. P. 32.1(a)(6) the defendant has the
burden to show that his release would not pose a threat to the
safety of the community.      Defendant has failed to meet that
burden, as use of drugs as reported by the probation officer
establishes a safety threat.


      IT THEREFORE HEREBY IS ORDERED,

     The government’s motion for detention is granted, and the
defendant shall be held in custody until further order.

      DATED this 29th day of September, 2005.

                                    BY THE COURT:


                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
